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Form 241

                               UNITED STATES BANKRUPTCY COURT
                                           Middle District of North Carolina
                                              101 S. Edgeworth Street
                                               Greensboro, NC 27401

                                                                               Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett   xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

   Debtor(s)

                                      NOTICE OF ORDER DISMISSING CASE



To: Debtor, Its Creditors and Other Parties in Interest:

TAKE NOTICE THAT on 7/27/22

an Order was entered by the United States Bankruptcy Court, dismissing the above named case .



Dated: 7/27/22                                                                 OFFICE OF THE CLERK/ kwc
